Case 1:04-cr-00010-MW-GRJ         Document 419      Filed 05/26/05    Page 1 of 2




                                                                           Page 1 of 2


                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                              CASE NO.: 1:04-CR-010-SPM

THOMAS SAPPENFIELD;
JOHN JASON LITTLE;
RESHAY DANIELS;
JOHNNY GEORGE;
EVERETT YOUNG;
WILLIE J. HINES;
MARCIA THURMAN;
DAVID DERN,

     Defendants.
________________________________/

                 AMENDED ORDER EXTENDING TIME FOR
               DEFENDANT DERN’S VOLUNTARY SURRENDER

      THIS CAUSE comes before the Court upon “Unopposed Motion to Extend

Surrender Date” (doc. 407) filed May 19, 2005. As grounds, Defendant avers

that a) he is out of town on business until June 4, 2005; and b) the Bureau of

Prisons has not yet designated him to an institution (Defendant was originally

scheduled to surrender on May 26, 2005). However, the record reflects that on

May 24, 2005, the Bureau completed a “Notice of Designation” which currently

assigns Defendant to FCI Yazoo City, Missouri. Thus, the only delay is
Case 1:04-cr-00010-MW-GRJ          Document 419      Filed 05/26/05    Page 2 of 2




                                                                            Page 2 of 2


Defendant’s completion of his business trip. Accordingly, it is

       ORDERED AND ADJUDGED that Defendant is ordered to surrender no

later than 12 o’clock noon on Friday, June 10, 2005 to either 1) the designated

institution of the Bureau of Prisons or 2) the United States Marshal at Gainesville,

Florida.

       DONE AND ORDERED this twenty-sixth day of May, 2005.


                                     s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge

/pao
